Case 2:04-cv-02035-.]DB-dkv Document 35 Filed 05/06/05 Page 1 of 17 Page|D 35

iN THE UNITED sTATEs DisTRiCr CoURT 5'"‘55’ 5 % e.c.
FoR THE WESTERN DrsTRiCT oF TENNESSEE jj t ,_ _
WESTERN Divisioi\i 5 ‘- '1- "1) ii l@»' 53

 

RAYMOND C. TURNER,

Plaintiff,
v. No. 04-2035-3/\/
ClTY OF I\/[EMPHIS, et al.,

Defendants.

 

ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

 

Before the Court is the motion ofthe Defendant, City ofl\/Iemphis (“City” or “Dei“endant”)1
for summary judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure. Piaintii`l`
Raymond C. Turner, ablack male, initiated this action pr_o § on January 21, 2004, alleging that the
Defendants1 discriminated against him on the basis of his race, created a hostile working
environment, and retaliated against him in violation of Title Vll ofthe Civii Rights Act of 1964
(“Title VIl”), 42 U.S.C. § ZOOOe, e_t M_., as amended The Plaintiffhas responded2 to Det`endant’s

motion which is now appropriate for disposition

 

l ln addition to suing his employer, Tumer also seeks relief from his supervisors, Joel
Nee] and Marl< Watts.

2 ln an order entered on l\/larch 18, 2005, the gourt directed Plaintiff to show cause why
the Defendant’s motion for summaryjudgment should not be granted based on his failure to file
a response As a result, Tumer filed a motion to continue the joint proposed scheduling order on
l\/Iarch 24. The Court denied the motion but noted that it would be considered as a response lo
the Court’s order as Plaintiff was requesting that the Court continue to proceed to trial instead of

dismissing his case.
h et iii com items
Thts document entered on the docke_{tj§,e(` - o
with Fiule 58 and/or 79(a) FRGF' on ii 5 O

Case 2:04-cv-02035-.]DB-dkv Document 35 Filed 05/06/05 Page 2 of 17 Page|D 36

FACTS

 

Turner was hired by the City’s Public Works and Sanitation Division as a driver at the
Bellevue facility and was later promoted to the position of maintenance mechanic at the Cart Central
facility in 1994. (Mem. Supp. City ofl\/lemphis Mot. Summ. J. (“Def.’s l\/lem.”) at 2 & Exhibit A:
Deposition of Raymond C. Tumer \/'olume l at 24-27 (hereinafter “Tumer dep. l at ____.”).) .loel
Neel, a white male, hired Plaintit`t` for the position which Turner still presently holds. (Def`. ’s l\/Iem.
at 2.) Plaintiff is a member of the American Federation of State, County, and l\/lunicipal Employees
Union which accepts grievances filed by employees of the City pursuant to a l\/iemoranduni ol`
Understanding (“M.O.U.”). (Def.’s l\/lem. a12-3.) Turner has submitted many grievances since his
employment began. Based on these various complaints, Plaintiff filed a charge ot`discrimination
with the Equal Employment Opportunity Commission on February 5, 2003 which ultimately lead
to this Title VII lawsuit.

Because Turner filed his charge of discrimination more than 300 days after several of the
events on which he has based his grievances, the Defendant argues that only those filed within 300
days of the date he presented his charge should be considered (Def.’s Mem. at 16.) An aggrieved
person employed by a State or local agency must file a charge of discrimination “within three
hundred days after the alleged unlawful employment practice occurred." 42 U.S.C. §2()00e-5(e)( t ).
The Sixth Circuit has held “that Titie VII’s 300 day filing deadline essentially functions as a statute

oflimitations.” Bovkinv. Michigan Dep’t ofCorrections, No. 99-1345, 2000 WL 491512,**2(601

 

Cir. April 18, 2000) (citing Zipes v. Trans World Airlines, Inc., 455 U.S. 385, 398, 102 S.Ct. 1127,

 

1135, 71 _L.E,d.Zd 234 (1982) (holding that timely filing with the EEOC is not a jurisdictional

prerequisite, but rather operates like a statute oflimitations)). Therefore, only events occurring after

[\.`)

Case 2:04-cv-02035-.]DB-d1<v Document 35 Filed 05/06/05 Page 3 of 17 Page|D 37

April ll, 2002 will be considered by the Court as being within the Title Vll time period 01`300 days
from February 5, 2003. Le §

Regretfully, Turner’s complaint does not specify the conduct or the dates on which instances
of discrimination occurred in the form complaint, Plaintist statement of facts are as follows:
“Harassed, Retaliation Reprisal, lntimidation, Suspended, Deflam ation [sic] ot`character, called a
nigger. Punitive damages emotional pain and suffering, inconvenience mental anguish, loss ot`
enjoyment of life and other.” (Compl. Under Title Vli Civil Rights Act 19641§ 10 ("`Compl.").)
When he Was deposed, Plaintiff outlined many grievances which he has filed regarding the
Defendant’s employment practices However, many of them were presented before February 2002
and numerous others after that date were not based on adverse employment decisions

Not every employment action opposed by an employee is sufficient to satisfy the adverse
action requirement in order to prove a retaliation claim. Rather, the adverse action must be a
materially adverse change in the terms or conditions of plaintiffs employment Bowman v.
Shawnce State Univ., 220 F.3d 456, 461-62 (6th Cir. 2000). Thus, in order to be actionabte, the

adverse action must be sufficiently severe w Halloran v. Minnesota Old Northeast Agents Ltd_

 

Partnership, 58 F. Supp. 2d 831, 841 (W.D. Tenn. 1999). Courts in this Circuit have found that a
reprimand or an involuntary transfer, absent loss of pay or benefits, or change in duties, does not
constitute a material change in employment S_ee Akers v. Alvey, 338 F.3d 491 , 498 (6th Cir. 2003);
Reid v. Madison County, Tenn., No. 98-5312, 1999 WL 196560, at **2 (6th Cir. Apr. 1, 1999);
Halloran, 58 F. Supp. 2d at 841. The Court will highlight the Plaintiff`s allegations which could

potentially be considered adverse employment decisions taken due to his race.

Case 2:04-cv-02035-.]DB-dl<v Document 35 Filed 05/06/05 Page 4 of 17 Page|D 38

Plaintiff testified that on September l l, 2002 l\/lark Watts, a white foreman for the
Defendant, asked Turner to help a white employee complete his job duties, which Plaintit`fclaims
was due to the employee’s sleeping on the job. (Turner dep. 1 at 34.) Turner stated that white
employees were not disciplined for sleeping on the job or for returning late from breaks while black
employees were. (Tumer dep. Iat 36-37, 40.) Additionally, when Plaintiffquestioned Watts about
the assignment, Watts allegedly stated “you people . . . need to start doing what we tell you all to
do.” (Turner dep. l at 34.) According to Turner, when he attempted to talk to his supervisor, .loel
Neel, about the incident, he allegedly told Plaintiff to get out of his face and said that "you people
need to start doing what you’re told.” (Tumer dep. 1 at 34.) As a result ofthe incident, Plaintift`liled
a grievance on the same day.

Several days later, Plaintiff was suspended for five days after a fact-finding hearing
determined that he had falsified paperwork regarding ajob assignmentl (_Turner dep. l at ()3.) ln his
deposition, Turner averred that he was suspended as retaliation for filing the September 1 l, 2002
grievance and that someone else had changed the information (Turner dep. 1 at 63-64.)

Turner also complained that he was wrongfully suspended in April 2003 after a discussion
with Neel in which the supervisor called him a “smait ass nigger” in front ofanother black coworker.
(Def.’s Mem. at 13 & Exhibit D: Deposition of Raymond C. Tumer Volume 11 at 146-51
(hereinafter “Tumer dep. 11 at __.”).) Plainti ff concedes that, after Neel made that comment. he told
him to “get your ass out ofmy face,” ignored Neel’s request that he come talk to him, and left work
for the day even though his shift had not yet ended. (Tumer dep. 11 at 149.) As a result ofPlaintifi`s
leaving the work site, he was suspended for several days. (Turner dep. ll at 150.) A fact-finding

hearing was held in which Neel denied making the comment (Turner dep. 11 at 150-51.)

Case 2:04-cv-02035-.]DB-dkv Document 35 Filed 05/06/05 Page 5 of 17 Page|D 39

Additionally, according to Plaintiff, his coworker did not testify at the hearing because he did not
want to get involved (Turner dep. 11 at 150-51.) Consequently, Plaintiff"s grievance was denied
(Def.’s Mem. at 12.)

On August 15, 2003, Plaintiff filed another grievance claiming that he had been demoted by
being assigned to the warehouse in retaliation for filing several grievances against Watts and l\leel.
(Turner dep. 11 at 156.) Area managerJ .loyce Flynn, heard the grievance and found in favor of
Tumer. (Turner dep. 11 at 156.) However, Plaintiff conceded that his pay and benefits always
remained the same during the entire time he was assigned to the warehouse and that after his
grievance was granted, he resumed going out into the field (Turner dep. 11 at 157`_)

1n August 2004, Turner was suspended for ten days because he damaged two City vehicles
Plaintiff testified that his suspension was discriminatory and that other employees, including both
black and white employees, had damaged other vehicles much worse but were never disciplined
(Tumer dep. 1 at 79-80.) Then, in December, Plaintiffwas again suspended for five days for being
out ofhis work area. (Def.’s Mem. at 14.) However, Tumer admits that he was not only outside his
work area but also outside ofthe State of Tennessee. (Turner dep. l at 87; Turner dep. ll at 179.)

STANDARD FOR SUl\/ll\/IARY .IUDGMENT

Rule 56(c) provides that a

judgment . . . shall be rendered forthwith ifthe pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show

that there is no genuine issue as to any material fact and that the moving party is

entitled to a judgment as a matter of law.

Fed. R. Civ. P. 56(c); g Celotex Corg. v. Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 2552, 91
L.Ed.2d 265 (1986); Canderm Pharmacalq Ltd. v. Elder Pharmaceuticals_ 1nc., 862 F.2d 597', 601

(6th Cir. 1988). 1n reviewing a motion for summary judgment, the evidence must be viewed in

5

Case 2:04-cv-02035-.]DB-dkv Document 35 Filed 05/06/05 Page 6 of 17 Page|D 40

the light most favorable to the nonmoving party. Matsushita Elee. 1ndus. Co.. Ltd. v. Zenith
Radio Corp., 475 U.S. 574, 587, 106 S.Ct. 1348, 1356, 89 L.Ed.2d 538 (1986). When the motion
is supported by documentary proof such as depositions and affidavits, the nonmoving party may
not rest on his pleadings but, rather, must present some “specific facts showing that there is a

genuine issue for trial.” Celotex, 477 U.S. at 324, 106 S.Ct. at 2553. 1t is not sufficient “simply

 

[to] show that there is some metaphysical doubt as to the material facts.” Matsushita Elec. lndus.
@, 475 U.S. at 586, 106 S.Ct. at 1356, These facts must be more than a scintilla of evidence
and must meet the standard of whether a reasonable juror could find by a preponderance of the
evidence that the nonmoving party is entitled to a verdict Anderson v. Liberty Lobbv, Inc, 477
U.S. 242, 252, 106 S.Ct. 2505, 2512, 91 L.Ed.2d 202 (1986). Summaryjudgment must be
entered “against a party who fails to make a showing sufficient to establish the existence of an
element essential to that party’s case, and on which that party will bear the burden of proof at
trial.” ,(M, 477 U.S. at 322, 106 S.Ct. at 2552. ln this circuit, “this requires the nonmoving
party to ‘put up or shut up’ [on] the critical issues of [his] asserted causes of action.” M
Saratoga Capital, lnc., 920 F. Supp. 840, 847 (W.D. Tenn. 1995) (citing Street v. .l.C. Bradford &
Q, 886 F.2d 1472, 1478 (6th Cir. 1989)). The “judge may not make credibility determinations
or weigh the evidence.” Adams v. Metiva, 31 F.3d 375J 379 (6th Cir. 1994).
ANALYSIS OF PLAINTIFF’S TITLE ViI CLAIMS

1n order to establish a claim under Title V11, a plaintiff must offer either direct or
circumstantial evidence of discrimination that would permit an inference of discriminatory treatment
Farmer v. Cleveland Pub, Power, 295 F.3d 593, 603 (6th Cir. 2002). If direct evidence of

discrimination is not available, then the burden-shifting approach set forth in McDonnell Douglas

Case 2:04-cv-02035-.]DB-dkv Document 35 Filed 05/06/05 Page 7 of 17 Page|D 41

Cog:_). v. Green, 411 U.S. 792, 93 S.Ct. 1817, 36 L.Ed.2d 668 (1973) and Texas Department of
Community Affairs v. Burdine, 450 U.S. 248, 101 S.'Ct. 1089, 67 L.Ed.2d 207 (1981) applies
FLner, 295 F.3d at 603. To establish direct proof of discriminatory intent, one must present
evidence proving the “existence of a fact without any inferences or presumptions, if believed.” Siez
;g, Brack v. Shoney’s, Inc., 249 F. Supp. 2d 938, 947 (W.D. Tenn. 2003) (citations omitted). l~Iere,
the Plaintiff has not indicated whether he is presenting a direct or indirect case of discrimination
The only allegation which could be considered direct proof of discrimination would be Turner’s
contention that he was called a “nigger” by his supervisor. (MTunier dep. 11 at 146-51.) However.
“[w]hile a continuing use of racial or ethnic slurs would violate Title Vll, occasional or sporadic
instances of such conduct does not.” Torres v. Countv of Oakland, 758 F.Zd 147, 152 (6th Cir.
1985) (citations omitted); ge also Jones v. Continental Cuisine, lnc., 353 F. Supp. 2d 716, 721 (E.D.
La. 2004) (holding “that even if [defendant] used the term ‘n word,’ it was a stray remark that does
not furnish direct proof of discriminatory intent”). In this case, the Plaintiff has only alleged that the
racial epithet was used on one occasion and has not supported that claim with any corroborating
evidence § Holmes v. FSR/Tennessee Affordable Housing Foundation, 100 F. Supp. 2d 804, 807
(W.D. Tenn. 2000) (Judge Jon McCalla noting that “evidence of the decision-makers’ repeated use
of the terms ‘nigger’ and ‘stupid nigger’ constituted direct evidence precluding summary judgment”).

Thus, Turner’s discrimination claims must be analyzed under the McDonnell Douglas burden-

 

shifting approach.
Under the McDonnell Douglas framework, the plaintiffmust first present a prima facie case
of discrimination, which would create a rebuttable presumption of discrimination Vaughn v.

Watkins Motor Lines. lnc., 291 F.3d 900, 906 (6th Cir. 2002). 1f the plaintiff meets this requirement

Case 2:04-cv-02035-.]DB-dkv Document 35 Filed 05/06/05 Page 8 of 17 Page|D 42

the defendant is then required to “articulate some le gitim ate, nondiscriminatory reason" for engaging
in the challenged conduct id (citation omitted). 1f the defendant satisfies its burden, the plaintiff
must then "prove that the proffered reason was actually a pretext to hide unlawful discrimination."
I_d (citation omitted)4

1n order to establish a prima facie case of discrimination, the plaintiff must demonstrate that
he was (1) a member of a protected class, (2) qualified for his position, (3) suffered an adverse
employment action, and (4) was replaced by one who was not a member of his protected classl l_d_.
lf the defendant is able to rebut the prima facie case by offering legitimate, nondiscriminatory
reasons for its challenged action, the burden shifts back to the plaintiff to show that the defendant’s
stated reasons were pretextual. Dgh_n, 291 F.3d at 906. To establish that the proffered reasons
were pretextual, the plaintiff must show by a preponderance of the evidence that the reasons either
(l) have no basis in fact, (2) did not actually motivate the adverse employment decision, or (3) are
insufficient reasons to motivate the decision §§ Whitaker v. Wallace, 170 F.3d 541, 544 (6th Cir.
1999) (citations omitted). The ultimate burden of persuasion remains at all times with the plaintiff
M, 450 U.S. at 253, 101 S.Ct. at 1093.

A. Race Di`scriminatton

Viewing Plaintiff’s complaint and deposition testimony in a light most favorable to him, the
Court finds that he has presented a prima facie case of discrimination based on race. Turner, as a
black male, was a member of a protected class and likely qualified for the job which he had been
performing for over ten years g V_aug@, 291 F.3d at 906. Although the Defendant claims that
Pl.aintiff did not suffer an adverse employment decision, he was suspended on separate occasions for

three days or more. The Sixth Circuit has held that a suspension for the equivalent of three eight-

Case 2:04-cv-02035-.]DB-dkv Document 35 Filed 05/06/05 Page 9 of 17 Page|D 43

hour work days was an adverse employment action within the meaning of Title \/11. Smith v. City

of Salem Ohio, 378 F.3d 566, 756-76 (6th Cir. 2004). However, Plaintiff contends that several of

 

the actions about which he complains were the result of retaliation Consequently, those reprisals
will be more appropriately addressed under the retaliation analysis set forth below.

During April 2003, Tumer filed a series of grievances claiming that he was wrongfully
suspended after he “walked off the job” when Neel allegedly called him a “smart ass nigger.”
(Tumer dep. 11 at 146-51.) Plaintiff also testified that he was discriminated against by being
suspended for ten days after he damaged two City vehicles (Turner dep. 1 at 79-80.) Finally, in
December 2004, Plaintiff was suspended for five days for being out of his work area. (Tumer dep.
11 at 176, 179.) Thus, the Court concludes that Plaintiffhas suffered adverse employment decisions

Because a prima facie case has been presented the MeDonnell Douglas framework requires
Defendant to provide a nondiscriminatory reason for its decisions As Plaintiff concedes, the City
suspended him for leaving work during the middle of his shift without approval from his supervisorl
(Tumer dep. 11 at 149.) Likewise, Turner stated that he did in fact damage two of the City’s vehicles
when the accelerator became stuck and offered to pay for the losses §§ Tumer dep. l at 79.) With
respect to his suspension for being outside of his Work area, Plaintiff readily admitted that he was
absent from his employment (Turner dep. 11 at 176, 179.)

Consequently, because the City has offered nondiscriminatory reasons for the suspensions
Turner is then required to demonstrate that the proffered bases are pretextual. §e_e_ Mgh_n, 291 F.3d
at 906. Additionally, as Neel was the person who hired the Plaintiff(@ Declaration of J oel E. Neel
at 1) as well as the supervisor who suspended him on two of the occasions mentioned above, Turner

must overcome the inference that Neel’s decisions were not motivated by race. w Buhrmaster v.

Case 2:04-cv-02035-.]DB-dkv Document 35 Filed 05/06/05 Page 10 of 17 Page|D 44

Overnite Trasp_. Co., 61 F.3d 461, 463 (6th Cir. 1995) (“[w]hen the individual who hires a person
is the same person Who fires an employee, there is a strong inference that discrimination did not
motivate the employment decision”); ge also Wexler v. White’s Fine Fumiture` lnc., 317 F.3d 564,
590 (6th Cir. 2003) (stating that the “same-actor” inference supports “the conclusion that a person
who hired an age-protected employee, but who later demotes or discharges that same employee,
probably was not motivated by ageist bias”).

in his response to the Defendant’s motion, Tumer has presented no evidence that the City’s
stated reasons for suspending him had no basis in fact, did not motivate the decision, or were
insufficient to impel the decision 853 Whitaker, 170 F.3d at 544 (citations omitted). ln his
deposition, Plaintiff concurred with the factual bases which led to the various suspensions
Accordingly, the Court finds that Plaintiff has not shown that Defendant’s reasons for suspending
him were pretextual. As such, Turner has failed to establish that a genuine issue of material fact
exists on the question ofhis claim of discrimination E Fed. R. Civ. P. 56(c).

B. Hostile Work Erivi'ronment

1n order to prevail on a claim of hostile work environment a plaintiff “must establish that
(l) [he] was a member of a protected group, (2) [he] was subjected to unwelcome harassment (3)
the harassment was based upon the employee’s protected status, such as race or gender, (4) the
harassment affected a term, condition, or privilege of employment and (5) the defendant knew or
should have known about the harassing conduct but failed to take any corrective or preventive
actions.” mng, 295 F.3d at 604 (citation omitted). Further, a racially hostile work environment
claim is “cognizable only if the purported harassment viewed in conjunction with all the

circumstances occurred because of the employee’s race.” 1_d at 605 (citations omitted). “Actionable

10

Case 2:04-cv-02035-.]DB-dkv Document 35 Filed 05/06/05 Page 11 of 17 Page|D 45

harassment exists if ‘the workplace is permeated with discriminatory intimidation, ridicule, and
insult . . . that is sufficiently severe or pervasive to alter the conditions of the victim’s employment
and create an abusive working environment . . .” § (quoting Harris v. Forklift Svs., Inc., 510 U.S.
17, 21, 114 S.Ct. 367, 126 L.Ed.2d 295 (1993)). The Supreme Court applies a totality of the
circumstances approach to determine whether a hostile work environment claim is actionable
considering: “the frequency of the discriminatory conduct; its severity; whether it is physically
threatening or humiliating, or a mere offensive utterance; and wh ether it unreasonably interferes with
an employee’s work performance.” Faragher v. Citv of Boca Raton, 524 U.S. 775, 787-88, 141
L.Ed.2d 662, l 18 S.Ct. 2275 (1998). However, “‘simple teasing,’ offhand comments, and isolated
incidents (unless extremely serious) will not amount to discriminatory changes in the ‘tenns and
conditions of employment.”’ § (internal citations omitted).

Because Turner’s deposition is the only evidence submitted to the Court outside of the U
g complaint, the Court will refer to Plaintiff" s testimony in determining whether he has set forth a
claim of hostile work environment As stated above, Tumer asserted in his deposition that Mark
Watts and Nell told him “you people need to start doing what you’re told.” (Turner dep. l at 34, 36-
37.) Additionally, as explained above, Plaintiff claims that Neel once called him a disparaging name
and wrongfully suspended him on several occasions (Turner dep. 1 at 79-80, 87.) Even accepting
these allegations as true, the Court finds that such conduct is simply not pervasive or severe enough
to state a cause of action for hostile work environment based on race. § P_a_rU, 295 F.3d at 605.
lsolated offensive utterances are not sufficiently severe to alter the terms and conditions of
employment § Faragher, 524 U.S. at 787-88, l 18 S.Ct. at 2283-84. Moreover, Turner has not

presented any evidence to this Court that the Defendant’s conduct was physicallythreateningl E

ll

Case 2:O4-cv-O2035-.]DB-dkv Document 35 Filed 05/06/05 Page 12 of 17 Page|D 46

Faragher, 524 U.S. at 787-88, 118 S.Ct. at 2283-84. Furthermore, Plaintiffhas not established that
his suspensions were due to his race. w FaMr, 295 F.3d at 604.

Even assuming that the conduct about which Plaintiff complains could constitute a hostile
working environment he has not shown that the Defendant did not investigate his grievances or take
corrective action when necessary S_ee M, 295 F.3d at 604. lndeed, in his deposition, Turner
referred to the M.O.U., which allowed him to file grievances against his supervisors, and verified
that his allegations were considered at fact-finding hearings (E Turner dep. 11 at 146, 150; Tumer
d.ep. 1 at 79.) Therefore, since nothing in the Plaintiff s deposition, complaint, or response to the
Defendant’s motion could be considered to allege, must less establish, that the Defendant’s failed
to take any preventative action, the Court finds that Turner has failed to state a claim for hostile work
environment E M, 295 F.3d at 604 (citation omitted).

C. Reraliafi`on

ln order to prevail on a claim of retaliation, a plaintiff must demonstrate that (1) he was
engaged in activity protected by 'l`itle VII; (2) his actions were known to the defendant; (3)
subsequently, the employer took action adverse to the plaintiff', and (4) there was a causal connection
between the plaintiffs activity and the actions of the defendant Nguven v. Citv of Cleveland 229
F.3d 559, 563 (6th Cir. 2000). When Plaintifffiled his grievances claiming that he was suspended
based on his race, he was engaging in protected activity under Title Vll. E Johnson v. Univ. of
Cincinnati, 215 F.3d 561, 578 (6th Cir. 2000) (opposing a practice by an employer which could be
unlawful under Title Vll is “protected activity”). Additionally, the Defendant knew about the actions

based on Plaintiff’s filings

12

Case 2:O4-cv-O2035-.]DB-dkv Document 35 Filed 05/06/05 Page 13 of 17 Page|D 47

Turner complains about several adverse employment actions that were taken against him
including: that he was suspended for live days for allegedly falsifying paperwork after he filed a
grievance less than a week before, and that he was demoted by being assigned to the warehouse after
he filed several grievances against Neel and Watts. As previously noted, an employer’s adverse
detennination, to be actionable must materially alter the terms or conditions of plaintiffs

employment Bowman v. Shawnce State Univ., 220 F.3d 456, 461-62 (6th Cir. 2000).

 

A materially adverse change in the terms and conditions of employment must be
more disruptive than a mere inconvenience or an alteration of job responsibilities
A materially adverse change might be indicated by a termination of employment a
demotion evidenced by a decrease in wage or salary, a less distinguished title, a
material loss of benefits, significantly diminished material responsibilities or other
indices that might be unique to a particular situation
Bowman, 220 F.3d at 461 -62. De minimis actions are not materially adverse and are not actionable
l_d_ at 462, ln Kocsis v. Multi-Care Management, lnc., 97 F.3d 876 (6th Cir. 1996), the Sixth Circuit,
in discussing this issue, noted that reassignment negative public perception concerning a transfer
or a particularjob, a transfer to a position with different responsibilities semantic changes in title,

and the bruising of an ego did not, without more, rise to the level of“materially adverse changes”

in the terms ofemployment. Kocsis, 97 F.3d at 885-87. Courts in this Circuit have also found that

 

a reprimand or an involuntary transfer, absent loss of pay or benefits, or change in duties, does not
constitute a materially adverse change in employment § Akers v. Alvey, 338 F.3d 491, 498 (6th

Cir. 2003); Reid v. Madison County1 Tenn., No. 98-5312, 1999 WL 1965 60, at *2 (6th Cir. Apr. l,

 

1999); Halloran, 58 F. Supp. 2d at 841. “An employee’s subjective impressions as to the

desirability of one position over another are not relevant.” Policastro v. Northwest Airlines, 297

 

F.3d 535, 539 (6th Cir. 2002), reh'g M suggestion § reh'g g banc denied (Oct. 2, 2002).

Similarly, "an employee’s subjective view about an employment action, without further evidentiary

13

Case 2:O4-cv-O2035-.]DB-dkv Document 35 Filed 05/06/05 Page 14 of 17 Page|D 48

support, may not by itselfestablish that the decision was pretextual." Kinamore v. EPB Elec. Utilitv,
No. l:00-CV-416, 2002 WL 32059025, at *6 (E.D. Tenn. Apr. ll, 2002), a_ff‘_d, No. 02-5631, 2004
wL 253367 (6th Cir. Feb. 9, 2004).

The Court finds that Plaintiff s suspension was an adverse employment decision resulting
in a loss of salary. §QQM, 378 F.3d at 576 (finding the equivalent ofa three-day suspension an
adverse employment decision under Title VII). However, with respect to Plaintiff’s claim that he
was demoted, the Court believes this assertion alone does not amount to an adverse employment
decision Turner admitted in his deposition that neither his pay nor benefits were affected (Turner
dep. ll at 157.) The Sixth Circuit has held that a reassignment without a change in compensation or
benefits is generally not an adverse employment action w KLcsjs, 97 F.3d at 885-87. Turner has
not pointed to any circumstances which indicate that his job duties changed or that he was given a
less distinguished title. §_e§ Policastro, 297 F.3d at 539 (stating that an employee’s subjective
impressions are not relevant).

Finally, to establish a prima facie case of retaliation, Plaintiff must show that the suspension
was casually linked with the protected activity of filing a grievance § §ggy@, 229 F.3d at 563.
Turner’s only evidence ofa relationship between these events would be the close proximity in time
between the grievance filed on September 1 1, 2002 and his suspension for falsifying his employment
records less than a week later. (Turner dep. 1 at 62.) “1n order to show a causal connection Plaintiff
must submit evidence from Which an inference can be drawn that the adverse action would not have
occurred but for [hi_sj complaints of discrimination or harassment.” Cu shman-Lagerstrom v. Citizens
lns. Co. of America, No. 01-2690, 2003 WL 21774017, at **9-10 (6th Cir. July 30, 2003) (citing

Allen v. Mich. Dep’t ofCorr., 165 F.3d 405, 413 (6th Cir. 1999)). “Evidence . . . that the adverse

 

14

Case 2:O4-cv-O2035-.]DB-dkv Document 35 Filed 05/06/05 Page 15 of 17 Page|D 49

action was taken shortly after the plaintiffs exercise of protected rights is relevant to causation.”
DiCarlo vt Potter, 358 F.3d 408, 421 (6th Cir. 2001). However, close proximity alone generally is
insufficient to establish the causal connection element of a retaliation claim. Ng uyen v. City of

Cleveland, 229 F.3d 559, 566 (6th Cir. 2000); W also Hall v. Eastman Chem. Co., No. 04-5228,

 

2005 WL 705775, at **3 (6th Cir. Mar. 28, 2005); Cushman-Lagerstrom, No. 01-2690, 2003 WL
21774017, at **9; Little v. B.P. Exr)loration & Oil Co., 265 F.3d 357, 364 (6th Cir. 2001).
Nonetheless, “there may be circumstances where evidence of temporal proximity alone would be
sufficient to support” the causal connection w MM, 229 F.3d at 566', _S§§ alj _Di_(}a§g, 358
F.3d at 421 (stating that “this Circuit has embraced the premise that in certain distinct cases where
the temporal proximity between the protected activity and the adverse employment action is acutely
near in time, that close proximity is deemed indirect evidence such as to permit an inference of
retaliation to arise”).

l-lere, the only evidence is Plaintiff"s deposition testimony in which he declared that his
suspension for falsifying his records was in actuality a form of retaliation by the Defendant, implying
that someone else framed him by changing the records (w Turner dep. 1 at 63-64.) However,
Tumer’s conclusory allegations without more are not enough to create a genuine issue of fact as to
whether his suspension was related to his filing a grievance a week before Conclusory statements
devoid of a factual basis do not create a genuine issue of material fact Essence, lnc. v. City of
Federal Heights, 285 F.3d 1272, 1289 (10th Cir. 2002), MM, 537 U.S. 947, 123 S.Ct. 411,
154 L.Ed.2d 291 (2002); Slowiak v. Land O'Lakes, 1nc.q 987 F.2d 1293, 1295 (7th Cir. 1993).
Consequently, as Plaintiff has not presented any other evidence regarding this incident, the Court

finds that he has failed to establish a prima facie case of retaliation Thus, the Defendant’s motion

15

Case 2:O4-cv-O2035-.]DB-dkv Document 35 Filed O5/O6/O5 Page 16 of 17 Page|D 50

for summary judgment is GRANTED as to Turner’s claim for retaliation

With respect to the individual Defendants Joel Neel and Mark Watts, the Plaintiff does not
indicate whether he is suing them in their official or individual capacities However, in either
capacity, based on the Plaintiffs allegations, they cannot be held liable under Title Vll. A suit
against an employee in his official capacity is generally considered the equivalent of a suit against
the entity itself. E Haltek v. Village ofPark Forest, 864 F. Supp. 802, 804 (N.D. 111. 1994) (“Suing
an individual supervisory employee in his official capacity is the equivalent of suing the employer.")_
Further, a claim against a supervisor/employee in his individual capacity in not actionable under Title

Vll. Wathen v. Gen. Elec. Co.. 115 F.3d 400, 406 (6th Cir. 1997) (“we find that the statute as a

 

whole, the legislative history and the case law support the conclusion that Congress did not intend
individual[ employees/supervisors] to face liability under the definition of ‘employer’ it selected for

Title \/ll”); see w Little, 265 F.3d at 362. Accordingly, Plaintiffs claims against l\leel and Watts

 

 

in either capacity are DlSl\/llSSED.
CONCLUSION
For the reasons articulated herein, the Defendant’s motion for summary judgment is
GRANTED and Plaintiff`s claims against the individual Defendant’s are DISMISSED. Accordingly,
this matter is DlSMlSSED and the Clerk of Court is directed to enter judgment in favor of the

Defendants.

IT rs so oRDERED this §'Qlay OrMay, 2005_

/

_DA int BREEN \
UNrr D srA'rEs Dis'raicr ruben

16

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CV-02035 was distributed by fax, mail, or direct printing on
May 6, 2005 to the parties listed

 

 

Raymond C. Turner
674 Nth Willett
l\/lemphis7 TN 38107

Sara L. Hall

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

l\/lemphis7 TN 38103

Robert D. Meyers

KIESEWETTER WISE KAPLAN & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

l\/lemphis7 TN 38125

Honorable .1. Breen
US DISTRICT COURT

